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8                           UNITED STATES DISTRICT COURT

9                          EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                 No.   2:15-cr-236-GEB
12                  Plaintiff,
13         v.                                  ORDER DENYING BAIL PENDING
                                               APPEAL
14   VANIK MOVSESYAN,
15                  Defendant.
16

17               Defendant    Vanik    Movsesyan      (“Defendant”)     seeks     bail

18   pending appeal under Fed. R. Crim. P. 46(c) and 18 U.S.C. § 3143(b),

19   arguing his appeal presents a substantial question of law: Whether

20   the district judge erred when he failed to find that the United

21   States of America (“the Government”) breached its plea agreement

22   with him when it failed to recommend a prison sentence at the

23   bottom of the advisory guideline range as estimated by the parties.

24   Bail Mot., ECF No. 229.     The Government opposes the motion.             Opp’n,

25   ECF   No.   241.      Defendant   filed    a    reply   to   the   Government’s

26   opposition.        Reply, ECF No. 247.          Since that reply contained

27   additional arguments not clearly raised in the original motion,

28   the Government was allowed a sur-reply, ECF No. 248, which the
                                           1
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1    Government filed, Sur-Reply, ECF No. 251.

2                To be entitled to bail pending appeal, Defendant must

3    show that he is unlikely “to flee or pose a danger to . . . the

4    community,” that his appeal is “not for the purpose of delay” and

5    that it “raises a substantial question of law or fact likely to

6    result in” reversal, an order for a new trial, or other prescribed

7    relief.     18 U.S.C. § 3143(b).     The Government argues the motion

8    should be denied because it is for purpose of delay and fails to

9    raise a substantial question of law or fact likely to result in

10   reversal.    Opp’n at 3:24–4:1. Decision on the latter issue obviates

11   the need to address the other issues.

12               “[A]   ‘substantial   question’   is   one    that    is   ‘fairly

13   debatable,’ or ‘fairly doubtful,’” United States v. Handy, 761 F.2d

14   1279, 1283 (9th Cir. 1985) (internal citations omitted); “In short,

15   a ‘substantial question’ is one of more substance than would be

16   necessary to a finding that it was not frivolous,” id. (citing

17   United States v. Giancola, 754 F.2d 898, 901 (11th Cir. 1985)).

18   “[T]he phrase ‘likely to result in reversal’ defines the type of

19   question that must be presented.”      Id. at 1281.      This is a question

20   which, if “determined favorably to defendant on appeal, . . . is
21   likely to result in reversal.”       Id. at 1283.        Defendant need not

22   show at the outset “that the appeal will probably result in

23   reversal.”    Id. at 1280.

24               Defendant argues:

25               In the plea agreement the parties estimated
                 the applicable guideline would be 2L2.2(a)
26               with a base level 8.    This is the guideline
                 used in [a] co-defendant[s] . . . sentencing.
27
                 Probation concluded it erred in applying
28               2L2.2(a) in [that] case and that the proper
                                       2
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1                guideline is in fact 2J2.1(a) and 1B1.5(d)
                 which results in a base level offense of 14.
2
                 . . . .
3
                 The parties entered into the plea agreement in
4                good faith and agreed the applicable guideline
                 would be 2L2.2(a). A co-defendant pled guilty
5                to the same crime and was sentenced under
                 2L2.2(a) months before [Defendant] entered
6                into his plea agreement. The government now
                 seeks to engage in a semantic battle and argue
7                they are not bound by their good faith estimate
                 and   instead   can   argue  for   a   sentence
8                substantially longer than the 0-6 months all
                 parties anticipated.
9

10   Bail Mot. 4:3–20.      Defendant broadened his argument in his reply

11   to include the notion that the Government may have breached its

12   obligations even if, strictly speaking, it complied with the letter

13   of its agreement.      Specifically, Defendant argues:

14               The Government may not superficially abide by
                 its promises in the plea agreement while also
15               making statements that serve no practical
                 purpose but to advocate for a higher sentence
16               than envisioned in the plea agreement.     The
                 Government argues in its memorandum that
17               Movsesyan’s attempts to deceive the USCIS were
                 serious and serial, that he has a history of
18               engaging in deceptive and fraudulent conduct,
                 and that his conduct persisted throughout his
19               contact with government officials.

20               . . . .
21               The Government [also] improperly argued for a
                 two (2) level increase and cited specific
22               conduct by Movsesyan that it claims supports
                 such a sentence.
23

24   Reply 3:12–27 (internal citation omitted).

25               Defendant’s arguments lack merit, and can all be traced

26   to a fundamental misapprehension of the plea agreement.           The plea

27   agreement   contains    a   section   specifically   titled   “Estimations

28   Affecting Guideline Calculation,” Plea Agreement 7:13, ECF No. 110
                                           3
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1    (emphasis added), in which the agreement recites: “The government

2    and the defendant agree that the following is their present best

3    estimate of the sentencing guidelines variables.          These estimates

4    shall not be binding on the Court, the Probation Office, or the

5    parties.”     Id. at 7:14–16 (emphasis added).        The plea agreement

6    also states, “[t]he government is obligated to recommend a sentence

7    at the low end of the applicable guidelines range as determined by

8    the Court.”    Id. at 9:4–5 (emphasis added).     The advisory guideline

9    estimation the parties state in the plea agreement includes the

10   incorrect base offense level of eight from U.S.S.G. § 2L2.2(a), but

11   also explicitly included a two-level increase for obstruction.           See

12   id. at 7:17–24.     The plea agreement includes a waiver of appeal,

13   stating: “The defendant agrees as part of his plea . . . to give

14   up the right to appeal the guilty plea, conviction, and the sentence

15   imposed in this case as long as the sentence does not exceed the

16   statutory maximum for the offense to which he is pleading guilty.”

17   Id. at 8:15–17 (emphasis added).

18               It is difficult to conceive of clearer language.            Here,

19   the   Government   fulfilled   all   its   obligations   under    the    plea

20   agreement by arguing for a sentence at the bottom of the advisory
21   guideline range determined by the court.        Nor has Defendant shown

22   that the Government breached the plea agreement by arguing in

23   support of a two-level enhancement for obstruction, which was

24   explicitly contemplated in the plea agreement.

25               Defendant’s disregard of clear and explicit language in

26   the plea agreement does not constitute “a ‘substantial question.’”
27   of law or fact likely to result in” reversal. Handy, 761 F.2d at

28   1283.   Instead, this referenced appeal is based on the challenged
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1    portions of the plea agreement, including the waiver of appeal

2    therein, and appears frivolous.

3              Since Defendant’s appeal does not present a substantial

4    question of law or fact, Defendant’s bail motion is denied and the

5    June 15, 2018 hearing on the motion is vacated.

6              Dated:    June 13, 2018

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